       Case
       Case 1:16-cv-01994-ALC-GWG
            1:16-cv-01994-ALC-GWG Document 89
                                           88 Filed
                                              Filed 12/19/18
                                                    12/19/18 Page
                                                             Page 12 of
                                                                     of 12
Hon. Gabriel W. Gorenstein                                                                                        Page 2 of2
December 19, 2018

medical records, which had been requested through HIP AA releases. The parties have also made
progress with depositions. In the last month, our Office has deposed Mr. Ali, and plaintiff's
counsel has deposed the three court-officer defendants.

        The parties agree, however, that additional fact discovery is necessary. Based on
information revealed during the parties' respective depositions, we believe that further
investigation into the incident is required, and that additional deposition and document
subpoenas may be warranted. For example, at Mr. Ali's deposition on December 14, 2018, he
testified that his counsel at the time of the incident witnessed at least part of what transpired
between Mr. Ali and the defendants, and memorialized his observations in one or more letters.
Because this is the first time our Office was made aware of this, we are requesting an extension to
allow us to further investigate and, if necessary, serve additional subpoenas.

       Moreover, based on a review of Mr. Ali's extensive medical records, our Office intends to
 subpoena at least one of Mr. Ali's medical providers to sit for a deposition.

         Additionally, based upon the testimony of the defendants, which was concluded on
 December 18, 2018, plaintiff's counsel would like the opportunity to review the transcripts in
 order to accurately assess what additional fact discovery is needed.

        Because of the holiday season, however, the parties cannot complete this additional fact
 discovery by the upcoming January 2 deadline.

         For these reasons, the parties respectfully request that the discovery deadlines in this case
· be extended two months. Under this proposed extension, the deadline for the completion of non-
  expert discovery, which is currently January 2, 2019, would be extended to March 4, 2019; the
  deadline to disclose expert witnesses, which is currently February 18, 2018, would be extended to
  April 18, 2019; the deadline for the depositions of expert witnesses, which is currently March 18,
  2019; would be extended to May 20, 2019; and the deadline to submit a pre-motion letter to
 Judge Carter in anticipation of defendants' motion for summary judgment, which is currently
  March 18, 2018, would be extended to May 20, 2019.

         Thank you for your time and attention to this matter.                                                               t; tr1         o-al
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 cc (by ECF):      Adrian Ellis, Esq.                                                                                 I
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      28 Liberty Street, New York, New York 10005 • Tel.: (212) 416-8610 • Fax: (212) 416-6009 (Not For Service of Papers)
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